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Document Pageiofi1

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF VA

RICHMOND DIVISION
IN RE: oper eee \KRH
JOHN EDWARD SMALL, JR. .
Debtor(s)
NOTICE OF APPEARANCE

The undersigned hereby appears in these Chapter 13 Bankruptcy Proceedings as Counsel
for PHH MORTGAGE CORPORATION and requests that she be placed upon the mailing list of

those creditors, parties in interest and Counsel who receive all Notices in these proceedings.

Respectfully submitted,
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CERTIFICATE

I certify that a gopy of the foregoing was electronically transmitted and/or mailed, by first
class mail, this LO day of Wha . 2011, to the following:

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